             Case 2:97-cr-00141-HB Document 33 Filed 02/01/18 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA

                      v.                            Criminal No. 97-CR-141-001

WAYNE CALDWELL


                    PRAECIPE TO SATISFY FINANCIAL JUDGMENT

TO THE CLERK OF THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA AT PHILADELPHIA:

        Please mark as satisfied the criminal monetary penalties portion of the criminal

judgment entered in the above-captioned case. This Praecipe applies only to any special

·assessment, restitution, and criminal fine obligation entered against the above-named

defendant.


                                             LOUIS D. LAPPEN
                                             United States Attorney



                                             ~t<-~
                                             AURENRBAER
                                             Assistant United States Attorney
                                             Pennsylvania Bar Id. No. 307042
                                             615 Chestnut Street
                                             Suite 1250
                                             Philadelphia, PA 19106-4476
                                             (215) 861-8200

Date:   \It
         I
            rIIii



                                                                                   Rev. 3/24/2015
